Case 2:05-CV-02285-SHI\/|-tmp Document 19 Filed 07/14/05 Page 1 of 2 Page|D 14

F"
UNITED sTATEs DISTRICT coURT 'ED BY llc.
wEsTERN nIsTRIcT oF TENNESSEE QSJUl
wEsTERN DIvIsIoN H‘ n ¢+= SI,

DENNIS JOSLIN OKLAHOM.A, LLC, PNS

Plaintiff,
v. Cv. Nb. 05-2285-Ma
DARRELL SELLS,

Defendant.

J'UDGMENT
Decision. by' Court. This action came for consideration

before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice, in accordance with the Order of Dismissal,
docketed July 12, 2005.

APPRO\Y/ /41 Z

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

3'“'“\ "' ' "'°‘S' momsu.eou.o
DATE CLERK

 

 

      

(By) DE TY cLERK

TJ'.is document entered on the docket sheet in compilance
with Rule 58 and/or 79(3) FHCP on "

'M('TEDIS"RIT OURT - WESTERDT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02285 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Robert E. Maclin

LAW OFFICE OF ROBERT E. MACLIN
201 E. Main St.

Ste. 1000

Lexington, KY 40507

Robert A. McLean

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/lemphis7 TN 38103

Walter W. May

LAW OFFICE OF WALTER W. MAY
167 W. Main St.

Ste. 1000

Lexington, KY 40502

Honorable Samuel Mays
US DISTRICT COURT

